                                                  Case 10-26989-RAM                          Doc 1             Filed 06/16/10                     Page 1 of 55
B1 (Official Form 1)(4/10)
                                                  United States Bankruptcy Court
                                                          Southern District of Florida                                                                              Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                                 Name of Joint Debtor (Spouse) (Last, First, Middle):
  Hernandez, Harvey


All Other Names used by the Debtor in the last 8 years                                                      All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                                 (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN                           Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                               (if more than one, state all)
  xxx-xx-8120
Street Address of Debtor (No. and Street, City, and State):                                                 Street Address of Joint Debtor (No. and Street, City, and State):
  5140 Riviera Drive
  Coral Gables, FL
                                                                                           ZIP Code                                                                                        ZIP Code
                                                                                         33146
County of Residence or of the Principal Place of Business:                                                  County of Residence or of the Principal Place of Business:
  Miami-Dade
Mailing Address of Debtor (if different from street address):                                               Mailing Address of Joint Debtor (if different from street address):


                                                                                           ZIP Code                                                                                        ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                       Type of Debtor                                       Nature of Business                                              Chapter of Bankruptcy Code Under Which
                    (Form of Organization)                                     (Check one box)                                                 the Petition is Filed (Check one box)
                       (Check one box)                              Health Care Business                                    Chapter 7
                                                                    Single Asset Real Estate as defined                     Chapter 9                       Chapter 15 Petition for Recognition
     Individual (includes Joint Debtors)                            in 11 U.S.C. § 101 (51B)                                                                of a Foreign Main Proceeding
     See Exhibit D on page 2 of this form.                                                                                  Chapter 11
                                                                    Railroad
                                                                                                                            Chapter 12                      Chapter 15 Petition for Recognition
     Corporation (includes LLC and LLP)                             Stockbroker
                                                                                                                            Chapter 13                      of a Foreign Nonmain Proceeding
                                                                    Commodity Broker
     Partnership
                                                                    Clearing Bank
     Other (If debtor is not one of the above entities,             Other                                                                               Nature of Debts
     check this box and state type of entity below.)                                                                                                     (Check one box)
                                                                            Tax-Exempt Entity
                                                                           (Check box, if applicable)                      Debts are primarily consumer debts,                 Debts are primarily
                                                                    Debtor is a tax-exempt organization                    defined in 11 U.S.C. § 101(8) as                    business debts.
                                                                    under Title 26 of the United States                    "incurred by an individual primarily for
                                                                    Code (the Internal Revenue Code).                      a personal, family, or household purpose."

                                Filing Fee (Check one box)                                    Check one box:                          Chapter 11 Debtors
     Full Filing Fee attached                                                                      Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
     Filing Fee to be paid in installments (applicable to individuals only). Must             Check if:
     attach signed application for the court's consideration certifying that the
                                                                                                   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
     debtor is unable to pay fee except in installments. Rule 1006(b). See Official
                                                                                                   are less than $2,343,300 (amount subject to adjustment on 4/01/13 and every three years thereafter).
     Form 3A.
                                                                                              Check all applicable boxes:
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                  A plan is being filed with this petition.
     attach signed application for the court's consideration. See Official Form 3B.
                                                                                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                   in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                    THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

     1-              50-            100-           200-       1,000-        5,001-        10,001-       25,001-       50,001-          OVER
     49              99             199            999        5,000        10,000         25,000        50,000        100,000         100,000

Estimated Assets

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
Estimated Liabilities

     $0 to           $50,001 to     $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
     $50,000         $100,000       $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                                   million    million      million        million       million
                                     Case 10-26989-RAM                    Doc 1         Filed 06/16/10                 Page 2 of 55
B1 (Official Form 1)(4/10)                                                                                                                                                  Page 2
                                                                                      Name of Debtor(s):
Voluntary Petition                                                                      Hernandez, Harvey
(This page must be completed and filed in every case)
                                 All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                      Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                              Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                             Relationship:                                  Judge:

                                       Exhibit A                                                                                Exhibit B
                                                                                         (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,                I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                        have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934                12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                           under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                        required by 11 U.S.C. §342(b).

        Exhibit A is attached and made a part of this petition.                         X
                                                                                            Signature of Attorney for Debtor(s)                     (Date)



                                                                                Exhibit C
  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                           Exhibit D
  (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
        Exhibit D completed and signed by the debtor is attached and made a part of this petition.
  If this is a joint petition:
        Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                      Information Regarding the Debtor - Venue
                                                                (Check any applicable box)
                    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                    days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                    There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                    Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                    this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                    proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                    sought in this District.
                                         Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                 (Check all applicable boxes)
                    Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                       (Name of landlord that obtained judgment)




                                       (Address of landlord)

                    Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                    the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                    Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                    after the filing of the petition.
                    Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                                    Case 10-26989-RAM                         Doc 1         Filed 06/16/10              Page 3 of 55
B1 (Official Form 1)(4/10)                                                                                                                                              Page 3
                                                                                           Name of Debtor(s):
Voluntary Petition                                                                           Hernandez, Harvey
(This page must be completed and filed in every case)
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                               Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this               I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                          is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and           proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                            (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.

                                                                                           X
 X /s/ Harvey Hernandez                                                                        Signature of Foreign Representative
     Signature of Debtor Harvey Hernandez

 X                                                                                             Printed Name of Foreign Representative
     Signature of Joint Debtor
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     June 16, 2010
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X /s/ D. Jean Ryan                                                                            chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      D. Jean Ryan 396818                                                                      debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      Ryan & Dunn, P.A.
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      P.O. Box 561507
      Miami, FL 33256-1507                                                                     Social-Security number (If the bankrutpcy petition preparer is not
                                                                                               an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)

                             Email: jryan@Ryan-Dunn.com
      (305) 275-2733 Fax: (305) 275-2732
     Telephone Number
     June 16, 2010
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of Bankruptcy Petition Preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.

     Date
                                      Case 10-26989-RAM                              Doc 1     Filed 06/16/10   Page 4 of 55



B 1D (Official Form 1, Exhibit D) (12/09)
                                                                 United States Bankruptcy Court
                                                                          Southern District of Florida
 In re       Harvey Hernandez                                                                                    Case No.
                                                                                             Debtor(s)           Chapter    7




                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                   CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 14 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the seven days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Summarize exigent circumstances here.]
       If your certification is satisfactory to the court, you must still obtain the credit counseling briefing
within the first 30 days after you file your bankruptcy petition and promptly file a certificate from the
agency that provided the counseling, together with a copy of any debt management plan developed
through the agency. Failure to fulfill these requirements may result in dismissal of your case. Any
extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days.
Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy
case without first receiving a credit counseling briefing.
          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
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B 1D (Official Form 1, Exhibit D) (12/09) - Cont.                                                                                       Page 2

                         Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
              mental deficiency so as to be incapable of realizing and making rational decisions with respect to
              financial responsibilities.);
                         Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
              unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
              through the Internet.);
                         Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
              I certify under penalty of perjury that the information provided above is true and correct.

                                                          Signature of Debtor:            /s/ Harvey Hernandez
                                                                                          Harvey Hernandez
                                                          Date:           June 16, 2010




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B6 Summary (Official Form 6 - Summary) (12/07)


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                                                                 United States Bankruptcy Court
                                                                         Southern District of Florida
  In re          Harvey Hernandez                                                                                       Case No.
                                                                                                                 ,
                                                                                                Debtor
                                                                                                                        Chapter                7




                                                                     SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                            ATTACHED               NO. OF             ASSETS                 LIABILITIES          OTHER
                                                           (YES/NO)              SHEETS

A - Real Property                                                Yes                1                            0.00


B - Personal Property                                            Yes                9                     18,224.00


C - Property Claimed as Exempt                                   Yes                3


D - Creditors Holding Secured Claims                             Yes                1                                                  0.00


E - Creditors Holding Unsecured                                  Yes                2                                                  0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                  Yes                7                                         7,521,112.92
    Nonpriority Claims

G - Executory Contracts and                                      Yes                1
   Unexpired Leases

H - Codebtors                                                    Yes                1


I - Current Income of Individual                                 Yes                1                                                                   9,936.08
    Debtor(s)

J - Current Expenditures of Individual                           Yes                1                                                                   9,796.01
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                          27


                                                                           Total Assets                   18,224.00


                                                                                                  Total Liabilities           7,521,112.92




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                                         Case 10-26989-RAM                            Doc 1    Filed 06/16/10       Page 7 of 55
Form 6 - Statistical Summary (12/07)


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                                                                 United States Bankruptcy Court
                                                                         Southern District of Florida
  In re           Harvey Hernandez                                                                                  Case No.
                                                                                                                ,
                                                                                              Debtor
                                                                                                                    Chapter                7


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                        Amount

              Domestic Support Obligations (from Schedule E)

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)

              Student Loan Obligations (from Schedule F)

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)

                                                                                     TOTAL


              State the following:

              Average Income (from Schedule I, Line 16)


              Average Expenses (from Schedule J, Line 18)

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column

              4. Total from Schedule F


              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)




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B6A (Official Form 6A) (12/07)


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  In re          Harvey Hernandez                                                                                         Case No.
                                                                                                              ,
                                                                                                Debtor

                                                               SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                              Husband,    Current Value of
                                                                                      Nature of Debtor's       Wife,     Debtor's Interest in           Amount of
                Description and Location of Property                                  Interest in Property     Joint, or  Property, without            Secured Claim
                                                                                                             Community Deducting  any Secured
                                                                                                                         Claim or Exemption

NONE                                                                                                              -                      0.00                          0.00




                                                                                                              Sub-Total >               0.00          (Total of this page)

                                                                                                                      Total >           0.00
  0     continuation sheets attached to the Schedule of Real Property
                                                                                                              (Report also on Summary of Schedules)
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B6B (Official Form 6B) (12/07)


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  In re          Harvey Hernandez                                                                                           Case No.
                                                                                                                ,
                                                                                               Debtor

                                                         SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                            N                                                                      Husband,        Current Value of
                Type of Property                            O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                            N                                                                       Joint, or   without Deducting any
                                                            E                                                                     Community Secured Claim or Exemption

1.    Cash on hand                                              Cash                                                                   -                            10.00

2.    Checking, savings or other financial                      Mercantil Bank                                                         -                           389.00
      accounts, certificates of deposit, or                     220 Alhambra Circle
      shares in banks, savings and loan,                        Coral Gables, FL 33134
      thrift, building and loan, and                            Checking Acct Ending 8506
      homestead associations, or credit
      unions, brokerage houses, or                              Eastern National Bank                                                  -                           200.00
      cooperatives.                                             799 Brickell Ave
                                                                Miami, FL 33131
                                                                Checking acct ending 4206

                                                                Coconut Grove Bank                                                     -                           200.00
                                                                2701 S Bayshore Dr
                                                                Coconut Grove, FL 33131
                                                                Savings acct ending

3.    Security deposits with public                             Security Deposit with                                                  -                        6,500.00
      utilities, telephone companies,                           Lot 20 Rivera, LLC
      landlords, and others.
                                                                Lot 20 Rivera LLC                                                      -                        6,500.00
                                                                c/o Frank Medina Landlord
                                                                3850 Bird Road
                                                                Miami, FL 33146




                                                                                                                                       Sub-Total >          13,799.00
                                                                                                                           (Total of this page)

  4     continuation sheets attached to the Schedule of Personal Property

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                                        Case 10-26989-RAM                            Doc 1       Filed 06/16/10        Page 10 of 55
B6B (Official Form 6B) (12/07) - Cont.




  In re          Harvey Hernandez                                                                                           Case No.
                                                                                                                ,
                                                                                                Debtor

                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                       (Continuation Sheet)

                                                            N                                                                      Husband,        Current Value of
                Type of Property                            O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                            N                                                                       Joint, or   without Deducting any
                                                            E                                                                     Community Secured Claim or Exemption

4.    Household goods and furnishings,                          Foyer                                                                  -                        2,640.00
      including audio, video, and                               Table $30.00
      computer equipment.                                       Living Room
                                                                1- Sofa $ 200.00
                                                                2 - Leather Chairs $50.00
                                                                1- End Table & Lamp $20.00
                                                                Family room
                                                                1- lg leather sofa $175.00
                                                                2 - leather chairs $200.00
                                                                1 - end table $5.00
                                                                1 - Lg Throw Rug $50.00
                                                                TV Plasma TV 50" $200.00
                                                                PSD player, dvd $100.00
                                                                Terrace
                                                                Outdoor furniture $200.00
                                                                Dining Room
                                                                Table & 6 Chairs $200.00
                                                                Chandelier $100.00
                                                                Office
                                                                Desk $50.00
                                                                Chair $20.00
                                                                Computer (2 yrs old) - $100.00
                                                                HP Printer (1 yr old) - $50.00
                                                                Kitchen wares
                                                                Pots and Pans, dishes, glassware, silverware, misc
                                                                utensils $100.00
                                                                other kitchen items are attached to home.
                                                                Master Bedroom
                                                                1 King Bed $ 200.00
                                                                1 Dresser $50.00
                                                                1 TV $100.00
                                                                2 nightstands $20.00
                                                                chaise $100.00
                                                                Kids Room
                                                                2 twin beds $60.00
                                                                Dresser $30.00
                                                                TV $100.00
                                                                1 nightstand $10.00
                                                                Guest Room
                                                                1 Queen Size Bed $100.00
                                                                2 nightstands $20.00

5.    Books, pictures and other art                             Asst artwork, dvd's & books                                            -                            75.00
      objects, antiques, stamp, coin,
      record, tape, compact disc, and
      other collections or collectibles.

6.    Wearing apparel.                                          slacks, shirts, suits, ties, jeans, tshirts, shorts,                   -                           125.00
                                                                underclothing, belts, shoes,




                                                                                                                                       Sub-Total >            2,840.00
                                                                                                                           (Total of this page)

Sheet 1 of 4          continuation sheets attached
to the Schedule of Personal Property

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                                        Case 10-26989-RAM                            Doc 1       Filed 06/16/10        Page 11 of 55
B6B (Official Form 6B) (12/07) - Cont.




  In re          Harvey Hernandez                                                                                           Case No.
                                                                                                                ,
                                                                                                Debtor

                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                       (Continuation Sheet)

                                                            N                                                                      Husband,        Current Value of
                Type of Property                            O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                            N                                                                       Joint, or   without Deducting any
                                                            E                                                                     Community Secured Claim or Exemption

7.    Furs and jewelry.                                         1 watch - 50.00                                                        -                            80.00
                                                                1 Neckchain - $30.00

8.    Firearms and sports, photographic,                        2 used Tennis Rackets                                                  -                              5.00
      and other hobby equipment.                                (2 yrs old)

9.    Interests in insurance policies.                      X
      Name insurance company of each
      policy and itemize surrender or
      refund value of each.

10. Annuities. Itemize and name each                        X
    issuer.

11. Interests in an education IRA as                        X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                      X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                         See attached list                                                      -                              0.00
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                      X
    ventures. Itemize.

15. Government and corporate bonds                          X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                    X

17. Alimony, maintenance, support, and                      X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.




                                                                                                                                       Sub-Total >                85.00
                                                                                                                           (Total of this page)

Sheet 2 of 4          continuation sheets attached
to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




  In re          Harvey Hernandez                                                                                           Case No.
                                                                                                                ,
                                                                                                Debtor

                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                       (Continuation Sheet)

                                                            N                                                                      Husband,        Current Value of
                Type of Property                            O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                            N                                                                       Joint, or   without Deducting any
                                                            E                                                                     Community Secured Claim or Exemption

19. Equitable or future interests, life                     X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                            X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                       X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                          X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                         X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                    X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                          2006 Suzuki Cruiser Bike                                               -                        1,500.00
    other vehicles and accessories.                             3,000 miles (approx)

26. Boats, motors, and accessories.                         X

27. Aircraft and accessories.                               X

28. Office equipment, furnishings, and                      X
    supplies.

29. Machinery, fixtures, equipment, and                     X
    supplies used in business.

30. Inventory.                                              X

31. Animals.                                                X


                                                                                                                                       Sub-Total >            1,500.00
                                                                                                                           (Total of this page)

Sheet 3 of 4          continuation sheets attached
to the Schedule of Personal Property

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B6B (Official Form 6B) (12/07) - Cont.




  In re          Harvey Hernandez                                                                                           Case No.
                                                                                                                ,
                                                                                                Debtor

                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                       (Continuation Sheet)

                                                            N                                                                      Husband,        Current Value of
                Type of Property                            O                       Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                            N                                                                       Joint, or   without Deducting any
                                                            E                                                                     Community Secured Claim or Exemption

32. Crops - growing or harvested. Give                      X
    particulars.

33. Farming equipment and                                   X
    implements.

34. Farm supplies, chemicals, and feed.                     X

35. Other personal property of any kind                     X
    not already listed. Itemize.




                                                                                                                                       Sub-Total >                  0.00
                                                                                                                           (Total of this page)
                                                                                                                                            Total >         18,224.00
Sheet 4 of 4          continuation sheets attached
to the Schedule of Personal Property                                                                                                   (Report also on Summary of Schedules)
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 B6C (Official Form 6C) (4/10)


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   In re          Harvey Hernandez                                                                                            Case No.
                                                                                                                  ,
                                                                                                Debtor

                                             SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                         Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                         $146,450. (Amount subject to adjustment on 4/1/13, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                              with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                                        Specify Law Providing                        Value of                 Current Value of
                    Description of Property                                                Each Exemption                            Claimed                  Property Without
                                                                                                                                    Exemption               Deducting Exemption
Cash on Hand
Cash                                                                           Fla. Const. art. X, § 4(a)(2)                                    10.00                            10.00

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Mercantil Bank                                    Fla. Const. art. X, § 4(a)(2)                                                               389.00                            389.00
220 Alhambra Circle
Coral Gables, FL 33134
Checking Acct Ending 8506

Eastern National Bank                                                          Fla. Const. art. X, § 4(a)(2)                                  200.00                            200.00
799 Brickell Ave
Miami, FL 33131
Checking acct ending 4206

Coconut Grove Bank                                                             Fla. Const. art. X, § 4(a)(2)                                  200.00                            200.00
2701 S Bayshore Dr
Coconut Grove, FL 33131
Savings acct ending




    2      continuation sheets attached to Schedule of Property Claimed as Exempt
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 B6C (Official Form 6C) (4/10) -- Cont.




   In re          Harvey Hernandez                                                                                   Case No.
                                                                                                                ,
                                                                                                 Debtor

                                             SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                        (Continuation Sheet)

                                                                                        Specify Law Providing            Value of            Current Value of
                    Description of Property                                                Each Exemption                Claimed             Property Without
                                                                                                                        Exemption          Deducting Exemption

Household Goods and Furnishings
Foyer                                                                          Fla. Const. art. X, § 4(a)(2)                      201.00               2,640.00
Table $30.00                                                                   Fla. Stat. Ann. § 222.25(4)                      2,439.00
Living Room
1- Sofa $ 200.00
2 - Leather Chairs $50.00
1- End Table & Lamp $20.00
Family room
1- lg leather sofa $175.00
2 - leather chairs $200.00
1 - end table $5.00
1 - Lg Throw Rug $50.00
TV Plasma TV 50" $200.00
PSD player, dvd $100.00
Terrace
Outdoor furniture $200.00
Dining Room
Table & 6 Chairs $200.00
Chandelier $100.00
Office
Desk $50.00
Chair $20.00
Computer (2 yrs old) - $100.00
HP Printer (1 yr old) - $50.00
Kitchen wares
Pots and Pans, dishes, glassware, silverware,
misc utensils $100.00
other kitchen items are attached to home.
Master Bedroom
1 King Bed $ 200.00
1 Dresser $50.00
1 TV $100.00
2 nightstands $20.00
chaise $100.00
Kids Room
2 twin beds $60.00
Dresser $30.00
TV $100.00
1 nightstand $10.00
Guest Room
1 Queen Size Bed $100.00
2 nightstands $20.00

Books, Pictures and Other Art Objects; Collectibles
Asst artwork, dvd's & books                         Fla. Stat. Ann. § 222.25(4)                                                   75.00                    75.00

Wearing Apparel
slacks, shirts, suits, ties, jeans, tshirts, shorts,                           Fla. Stat. Ann. § 222.25(4)                       125.00                   125.00
underclothing, belts, shoes,

Furs and Jewelry
1 watch - 50.00                                                                Fla. Stat. Ann. § 222.25(4)                        80.00                    80.00
1 Neckchain - $30.00




 Sheet      1     of     2     continuation sheets attached to the Schedule of Property Claimed as Exempt
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 B6C (Official Form 6C) (4/10) -- Cont.




   In re          Harvey Hernandez                                                                                   Case No.
                                                                                                                ,
                                                                                                 Debtor

                                             SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                        (Continuation Sheet)

                                                                                        Specify Law Providing            Value of            Current Value of
                    Description of Property                                                Each Exemption                Claimed             Property Without
                                                                                                                        Exemption          Deducting Exemption

Firearms and Sports, Photographic and Other Hobby Equipment
2 used Tennis Rackets                           Fla. Stat. Ann. § 222.25(4)                                                         5.00                     5.00
(2 yrs old)

Automobiles, Trucks, Trailers, and Other Vehicles
2006 Suzuki Cruiser Bike                                                       Fla. Stat. Ann. § 222.25(1)                      1,000.00               1,500.00
3,000 miles (approx)                                                           Fla. Stat. Ann. § 222.25(4)                        500.00




                                                                                                     Total:                     5,224.00               5,224.00
 Sheet      2     of     2     continuation sheets attached to the Schedule of Property Claimed as Exempt
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 B6D (Official Form 6D) (12/07)


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  In re          Harvey Hernandez                                                                                              Case No.
                                                                                                                  ,
                                                                                                  Debtor

                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                             C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
             CREDITOR'S NAME                                 O                                                             O    N   I
                                                             D   H             DATE CLAIM WAS INCURRED,                    N    L   S        CLAIM
          AND MAILING ADDRESS                                E                                                             T    I   P       WITHOUT          UNSECURED
           INCLUDING ZIP CODE,                               B   W               NATURE OF LIEN, AND                       I    Q   U                        PORTION, IF
                                                             T   J              DESCRIPTION AND VALUE                      N    U   T
                                                                                                                                           DEDUCTING
          AND ACCOUNT NUMBER                                 O                                                             G    I   E       VALUE OF            ANY
            (See instructions above.)
                                                                 C                   OF PROPERTY
                                                             R
                                                                                    SUBJECT TO LIEN
                                                                                                                           E    D   D     COLLATERAL
                                                                                                                           N    A
                                                                                                                           T    T
Account No.                                                                                                                     E
                                                                                                                                D




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Account No.




                                                                      Value $
Account No.




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Account No.




                                                                      Value $
                                                                                                                        Subtotal
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_____ continuation sheets attached
                                                                                                               (Total of this page)
                                                                                                                          Total                  0.00                      0.00
                                                                                                (Report on Summary of Schedules)

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  In re          Harvey Hernandez                                                                                                  Case No.
                                                                                                                      ,
                                                                                                  Debtor

                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $11,725* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $5,775* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,600* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507(a)(10).




     * Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                1          continuation sheets attached
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 B6E (Official Form 6E) (4/10) - Cont.




   In re          Harvey Hernandez                                                                                              Case No.
                                                                                                                   ,
                                                                                                   Debtor

                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                        (Continuation Sheet)
                                                                                                                            Taxes and Certain Other Debts
                                                                                                                             Owed to Governmental Units
                                                                                                                                         TYPE OF PRIORITY
                                                              C   Husband, Wife, Joint, or Community                        C    U   D
             CREDITOR'S NAME,                                 O                                                             O    N   I                      AMOUNT NOT
                                                              D                                                             N    L   S                      ENTITLED TO
           AND MAILING ADDRESS                                E   H          DATE CLAIM WAS INCURRED                        T    I   P      AMOUNT          PRIORITY, IF ANY
            INCLUDING ZIP CODE,                               B   W
                                                                           AND CONSIDERATION FOR CLAIM                      I    Q   U
                                                                                                                                            OF CLAIM
           AND ACCOUNT NUMBER                                 T   J                                                         N    U   T                                AMOUNT
                                                              O                                                             G    I   E                             ENTITLED TO
              (See instructions.)                             R   C                                                         E    D   D
                                                                                                                            N    A
                                                                                                                                                                      PRIORITY
                                                                                                                            T    T
Account No. 2006 Tax Liability                                        4/17/2006                                                  E
                                                                                                                                 D

Internal Revenue Service
Special Procedures-Insolvency                                                                                                                               Unknown
7850 SW 6th Court
                                                                  -
Stop 5730
Plantation, FL 33324
                                                                                                                                               Unknown              Unknown
Account No.




Account No.




Account No.




Account No.




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Sheet _____    1
            of _____  continuation sheets attached to                                                                    Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                         (Total of this page)                0.00                    0.00
                                                                                                                           Total                            0.00
                                                                                                 (Report on Summary of Schedules)                   0.00                    0.00

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                                         Case 10-26989-RAM                            Doc 1          Filed 06/16/10      Page 24 of 55
 B6F (Official Form 6F) (12/07)


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   In re          Harvey Hernandez                                                                                        Case No.
                                                                                                                     ,
                                                                                                   Debtor


                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                            C   Husband, Wife, Joint, or Community                          C   U   D
                    CREDITOR'S NAME,                                        O                                                               O   N   I
                    MAILING ADDRESS                                         D   H                                                           N   L   S
                  INCLUDING ZIP CODE,                                       E                 DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                                W
                 AND ACCOUNT NUMBER
                                                                            B               CONSIDERATION FOR CLAIM. IF CLAIM               I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                            T   J                                                           N   U   T
                                                                            O                 IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                   (See instructions above.)                                R
                                                                                C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No.                                                                         Promissory Note                                         T   T
                                                                                                                                                E
                                                                                                                                                D

Alkairina Corp.
117 NW 42 Ave                                                                   -
Ste 914
Miami, FL 33125
                                                                                                                                                                   300,000.00
Account No. Ending 62001                                                            2007
                                                                                    Credit Card
American Express
P.O. Box 530001                                                                 -
Atlanta, GA 30353

                                                                                                                                                                       5,080.14
Account No. Ending 92009                                                            2008
                                                                                    Credit Card
American Express
P.O. Box 530001                                                                 -
Atlanta, GA 30353

                                                                                                                                                                     10,536.91
Account No. 14440                                                                   Services Provided

Applerouth, Farah & Co.
999 Ponce De Leon Blvd                                                          -
Ste 625
Miami, FL 33134
                                                                                                                                                                       8,076.75

                                                                                                                                        Subtotal
 6
_____ continuation sheets attached                                                                                                                                 323,693.80
                                                                                                                              (Total of this page)




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   In re          Harvey Hernandez                                                                                        Case No.
                                                                                                                     ,
                                                                                                   Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                       C   U   D
                    CREDITOR'S NAME,                                        O                                                            O   N   I
                    MAILING ADDRESS                                         D   H                                                        N   L   S
                  INCLUDING ZIP CODE,
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                                                                                              DATE CLAIM WAS INCURRED AND                T   I   P
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                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM            N   U   T   AMOUNT OF CLAIM
                                                                            O   C             IS SUBJECT TO SETOFF, SO STATE.            G   I   E
                   (See instructions above.)                                R                                                            E   D   D
                                                                                                                                         N   A
                                                                                                                                         T   T
Account No. 3056689049213                                                           Phone                                                    E
                                                                                                                                             D

AT&T
POB 105503                                                                      -
Atlanta, GA 30348-5503

                                                                                                                                                                   299.38
Account No. 3056654788377                                                           Phone

AT&T
POB 105503                                                                      -
Atlanta, GA 30348-5503

                                                                                                                                                                       0.00
Account No. account ending 9222                                                     Car Lease 2007 Audi
                                                                                    (Debtor turned car in)
AUDI FINANCIAL SERVICES                                                             Possible deficiency balance
P.O. BOX 17497                                                                  -
Baltimore, MD 21297-1497

                                                                                                                                                                 8,500.00
Account No. 08-38483 CA 05                                                          July 2008
                                                                                    lawsuit and lien against property interest
Bank Leumi USA
c/o Shutts & Bowen LLP                                                          -
1500 Miami Center
201 S. Biscayne Blvd.
Miami, FL 33131                                                                                                                                            1,325,743.89
Account No. Ending 7466                                                             Credit Card

Bank of America
P.O. Box 15026                                                                  -
Wilmington, DE 19850-5026

                                                                                                                                                                 8,158.76

           1
Sheet no. _____     6
                of _____ sheets attached to Schedule of                                                                                Subtotal
                                                                                                                                                           1,342,702.03
Creditors Holding Unsecured Nonpriority Claims                                                                               (Total of this page)




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   In re          Harvey Hernandez                                                                                        Case No.
                                                                                                                     ,
                                                                                                   Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                       C   U   D
                    CREDITOR'S NAME,                                        O                                                            O   N   I
                    MAILING ADDRESS                                         D   H                                                        N   L   S
                  INCLUDING ZIP CODE,
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                                                                                                                                         N   A
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Account No. Ending 5427                                                             Credir Card                                              E
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Bank of America
P.O. Box 15026                                                                  -
Wilmington, DE 19850-5026

                                                                                                                                                               14,944.26
Account No. Ending 1315                                                             Credit Card

Bank of America
P.O. Box 15026                                                                  -
Wilmington, DE 19850-5026

                                                                                                                                                               14,236.00
Account No. Ending 9196                                                             2008
                                                                                    Credit Card
Bank of America
P.O. Box 15026                                                                  -
Wilmington, DE 19850-5026

                                                                                                                                                                 6,731.80
Account No. Ending 0021                                                             Credit Card

Bank of America
P.O. Box 15026                                                                  -
Wilmington, DE 19850-5026

                                                                                                                                                                 7,400.00
Account No. Ending 5397                                                             Credit Card

Bank of America
P.O. Box 15026                                                                  -
Wilmington, DE 19850-5026

                                                                                                                                                                   470.00

           2
Sheet no. _____     6
                of _____ sheets attached to Schedule of                                                                                Subtotal
                                                                                                                                                               43,782.06
Creditors Holding Unsecured Nonpriority Claims                                                                               (Total of this page)




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   In re          Harvey Hernandez                                                                                        Case No.
                                                                                                                     ,
                                                                                                   Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                       C   U   D
                    CREDITOR'S NAME,                                        O                                                            O   N   I
                    MAILING ADDRESS                                         D   H                                                        N   L   S
                  INCLUDING ZIP CODE,
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                   (See instructions above.)                                R                                                            E   D   D
                                                                                                                                         N   A
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Account No. Ending 0245                                                             Car Lease                                                E
                                                                                    BMW750Li                                                 D

BMW Financial Services                                                              (Debtor turned car in)
P.O Box 9001065                                                                 -
Louisville, KY 40290-1065

                                                                                                                                                                 1,070.00
Account No. account ending 2479                                                     Repossed Leased
                                                                                    BMW 550i
BMW Financial Services                                                              Possible Deficiency balance
P.O Box 9001065                                                                 -
Louisville, KY 40290-1065

                                                                                                                                                                 8,000.00
Account No.                                                                         Lawsuit and Loan

Briarrose Invest, LTD
c/o Juan C. Martinez, Esq                                                       -
1221 Brickell Ave
Ste 1650
Miami, FL 33131                                                                                                                                            1,619,041.10
Account No.                                                                         Promissory Note

Carlos Marquez
7102 SW 44 ST                                                                   -
Miami, FL 33165

                                                                                                                                                           2,550,000.00
Account No. Ending 2245                                                             Credit Card

Citi Card
POB 6401                                                                        -
The Lakes, NV 88901-6401

                                                                                                                                                                 2,515.19

           3
Sheet no. _____     6
                of _____ sheets attached to Schedule of                                                                                Subtotal
                                                                                                                                                           4,180,626.29
Creditors Holding Unsecured Nonpriority Claims                                                                               (Total of this page)




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   In re          Harvey Hernandez                                                                                        Case No.
                                                                                                                     ,
                                                                                                   Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                       C   U   D
                    CREDITOR'S NAME,                                        O                                                            O   N   I
                    MAILING ADDRESS                                         D   H                                                        N   L   S
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                   (See instructions above.)                                R                                                            E   D   D
                                                                                                                                         N   A
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Account No. 3230061863                                                              Lawsuit                                                  E
                                                                                                                                             D

Eastern National Bank
799 Brickell Plaza                                                              -
Miami, FL 33131

                                                                                                                                                             192,814.55
Account No.

Equifax
POB 740241                                                                      -
Atlanta, GA 30374

                                                                                                                                                                       0.00
Account No.

Experian
POB 2104                                                                        -
Allen, TX 75013

                                                                                                                                                                       0.00
Account No.                                                                         Notice Only

Innovis
P.O. Box 1358                                                                   -
Columbus, OH 43216-1358

                                                                                                                                                                       0.00
Account No.

IRS
Special Procedures-Insolvency                                                   -
Stop 5760
Po Box 17167
Fort Lauderdale, FL 33318                                                                                                                                              0.00

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Sheet no. _____     6
                of _____ sheets attached to Schedule of                                                                                Subtotal
                                                                                                                                                             192,814.55
Creditors Holding Unsecured Nonpriority Claims                                                                               (Total of this page)




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   In re          Harvey Hernandez                                                                                        Case No.
                                                                                                                     ,
                                                                                                   Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                       C   U   D
                    CREDITOR'S NAME,                                        O                                                            O   N   I
                    MAILING ADDRESS                                         D   H                                                        N   L   S
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                   (See instructions above.)                                R                                                            E   D   D
                                                                                                                                         N   A
                                                                                                                                         T   T
Account No. 08-13135 CA 01 (27)                                                     MARCH 08                                                 E
                                                                                    possible attorney's fees                                 D

James W. Carpenter
c/o Angelo & Banta, P.A.                                                        -
515 East Las Olas Blvd.
Suite 850
Fort Lauderdale, FL 33301                                                                                                                                       Unknown
Account No. Ending 8580                                                             Credit Card

MBNA
P.O. Box 15137                                                                  -
Wilmington, DE 19850

                                                                                                                                                                 8,419.53
Account No. Ending 9797                                                             Credit Card

Pay Pal Plus
GE Money Bank                                                                   -
Bankruptcy Dept
POB 103104
Roswell, GA 30076                                                                                                                                                3,589.69
Account No. 08-13135 CA 01 (27)                                                     March 2008
                                                                                    judgment
Regions Bank
c/o Angelo & Banta, P.A.                                                        -
515 East Las Olas Blvd.
Suite 850
Fort Lauderdale, FL 33301                                                                                                                                  1,425,373.86
Account No. 08-38483-CA 05                                                          Possible attorneys fees

Shutts & Bowen
201 South Biscayne Blvd.                                                        -
Suite 1500
Miami, FL 33131
                                                                                                                                                                Unknown

           5
Sheet no. _____     6
                of _____ sheets attached to Schedule of                                                                                Subtotal
                                                                                                                                                           1,437,383.08
Creditors Holding Unsecured Nonpriority Claims                                                                               (Total of this page)




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   In re          Harvey Hernandez                                                                                             Case No.
                                                                                                                      ,
                                                                                                   Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                        (Continuation Sheet)




                                                                            C   Husband, Wife, Joint, or Community                             C   U   D
                    CREDITOR'S NAME,                                        O                                                                  O   N   I
                    MAILING ADDRESS                                         D   H                                                              N   L   S
                  INCLUDING ZIP CODE,
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                                                                                              DATE CLAIM WAS INCURRED AND                      T   I   P
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                 AND ACCOUNT NUMBER                                         T   J           CONSIDERATION FOR CLAIM. IF CLAIM                  N   U   T   AMOUNT OF CLAIM
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                   (See instructions above.)                                R                                                                  E   D   D
                                                                                                                                               N   A
                                                                                                                                               T   T
Account No.                                                                         Notice Only                                                    E
                                                                                                                                                   D

Trans Union Corp.
P.O. Box 1000                                                                   -
Chester, PA 19022

                                                                                                                                                                             0.00
Account No. 721565613-00001                                                         Cellular

Verizon Wireless
PO Box 105378                                                                   -
Atlanta, GA 30348

                                                                                                                                                                         111.11
Account No.




Account No.




Account No.




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Sheet no. _____     6
                of _____ sheets attached to Schedule of                                                                                      Subtotal
                                                                                                                                                                         111.11
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)
                                                                                                                                               Total
                                                                                                                     (Report on Summary of Schedules)            7,521,112.92


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B6G (Official Form 6G) (12/07)


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  In re             Harvey Hernandez                                                                                    Case No.
                                                                                                             ,
                                                                                             Debtor

                         SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                              Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                                   State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                         State contract number of any government contract.

                     Lot 20, Rivera, LLC.                                                       5140 Riviera Drive
                     c/o Frank Medina, Landlord                                                 Coral Gables, FL 33146
                     Miami, FL 33146                                                            January 31, 2011




       0
                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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B6H (Official Form 6H) (12/07)


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  In re          Harvey Hernandez                                                                               Case No.
                                                                                                         ,
                                                                                             Debtor

                                                                    SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                                  NAME AND ADDRESS OF CREDITOR




       0
               continuation sheets attached to Schedule of Codebtors
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                                 Case 10-26989-RAM             Doc 1       Filed 06/16/10            Page 33 of 55
B6I (Official Form 6I) (12/07)

 In re    Harvey Hernandez                                                                              Case No.
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Divorced                               None.

Employment:                                           DEBTOR                                                        SPOUSE
Occupation                           Real Estate Advisor
Name of Employer                     self employed
How long employed                    1 year
Address of Employer

INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                     SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $          0.00          $            0.00
2. Estimate monthly overtime                                                                             $          0.00          $            0.00

3. SUBTOTAL                                                                                              $             0.00       $             0.00


4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $         1,295.92       $             0.00
     b. Insurance                                                                                        $             0.00       $             0.00
     c. Union dues                                                                                       $             0.00       $             0.00
     d. Other (Specify):                                                                                 $             0.00       $             0.00
                                                                                                         $             0.00       $             0.00

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $         1,295.92       $             0.00

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $         -1,295.92      $             0.00

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $         8,500.00       $             0.00
8. Income from real property                                                                             $             0.00       $             0.00
9. Interest and dividends                                                                                $             0.00       $             0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $             0.00       $             0.00
11. Social security or government assistance
(Specify):                                                                                               $             0.00       $             0.00
                                                                                                         $             0.00       $             0.00
12. Pension or retirement income                                                                         $             0.00       $             0.00
13. Other monthly income
(Specify):           Monthly reimbursed expenses                                                         $         2,732.00       $             0.00
                                                                                                         $             0.00       $             0.00

14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $       11,232.00        $             0.00

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         9,936.08       $             0.00

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                                          $            9,936.08
                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
                             Case 10-26989-RAM           Doc 1      Filed 06/16/10         Page 34 of 55
B6J (Official Form 6J) (12/07)

 In re    Harvey Hernandez                                                                    Case No.
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case
filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                 4,000.00
 a. Are real estate taxes included?                            Yes                No X
 b. Is property insurance included?                            Yes                No X
2. Utilities:      a. Electricity and heating fuel                                                          $                   250.00
                   b. Water and sewer                                                                       $                   150.00
                   c. Telephone                                                                             $                   100.00
                   d. Other CABLE                                                                           $                    75.00
3. Home maintenance (repairs and upkeep)                                                                    $                   365.00
4. Food                                                                                                     $                   700.00
5. Clothing                                                                                                 $                     0.00
6. Laundry and dry cleaning                                                                                 $                    50.00
7. Medical and dental expenses                                                                              $                    25.00
8. Transportation (not including car payments)                                                              $                     7.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                   150.00
10. Charitable contributions                                                                                $                     0.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                     0.00
                   b. Life                                                                                  $                   143.00
                   c. Health                                                                                $                     0.00
                   d. Auto                                                                                  $                     0.00
                   e. Other                                                                                 $                     0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify) Monthly FICA or self employment taxes                                             $                1,201.01
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                  $                     0.00
                   b. Other                                                                                 $                     0.00
                   c. Other                                                                                 $                     0.00
14. Alimony, maintenance, and support paid to others                                                        $                 1,920.00
15. Payments for support of additional dependents not living at your home                                   $                   660.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                     0.00
17. Other                                                                                                   $                     0.00
    Other                                                                                                   $                     0.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                 9,796.01
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                        $                 9,936.08
b. Average monthly expenses from Line 18 above                                                              $                 9,796.01
c. Monthly net income (a. minus b.)                                                                         $                   140.07
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B6 Declaration (Official Form 6 - Declaration). (12/07)
                                                                 United States Bankruptcy Court
                                                                          Southern District of Florida
 In re       Harvey Hernandez                                                                                         Case No.
                                                                                             Debtor(s)                Chapter    7




                                        DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                    DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of             29
            sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date June 16, 2010                                                           Signature      /s/ Harvey Hernandez
                                                                                             Harvey Hernandez
                                                                                             Debtor

     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                      18 U.S.C. §§ 152 and 3571.




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B7 (Official Form 7) (04/10)



                                                                United States Bankruptcy Court
                                                                         Southern District of Florida
 In re       Harvey Hernandez                                                                                  Case No.
                                                                                         Debtor(s)             Chapter        7


                                                        STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                         DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.


               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                          AMOUNT                                  SOURCE
                          $-1,458,024.00                          2008: Debtor Employment Income
                          $0.00                                   2009 Income Tax Return
                                                                  (in process)
                          $61,000.00                              2010 Approximate Gross Income to date




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               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                  SOURCE

               3. Payments to creditors

    None       Complete a. or b., as appropriate, and c.

               a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
               and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value
               of all property that constitutes or is affected by such transfer is less than $600. Indicate with an (*) any payments that were made to a
               creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
               nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS                                                                 DATES OF                                              AMOUNT STILL
    OF CREDITOR                                                                   PAYMENTS                        AMOUNT PAID             OWING

    None       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
               immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
               transfer is less than $5,850*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
               account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
               budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments and other
               transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                                                                      AMOUNT
                                                                                  DATES OF                             PAID OR
                                                                                  PAYMENTS/                          VALUE OF           AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                                     TRANSFERS                         TRANSFERS             OWING
 Lot 20 Rivera, LLC.                                                              Rent                              $12,000.00              $0.00
 c/o Frank Medina, Landlord                                                       April 2010 $4,000.00
 3850 Bird Road, 8th Floor                                                        May 2010 $4,000.00
 Miami, FL 33146                                                                  June 2010 $4,000.00
 FPL                                                                              Electric Bill                       $850.00                    $0.00
 General Mail Facility                                                            April 2010 $250.00
 Miami, FL 33188-0001                                                             May 2010 $250.00
                                                                                  June 2010 $250.00
 Vanessa Hernandez                                                                Child Support                      $5,700.00                   $0.00
 690 Solano Prado                                                                 April 2010 $1900.00
 Coral Gables, FL 33134                                                           May 2010 $1900.00
                                                                                  June 2010 $1900.00

    None       c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
               creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                       AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                                      DATE OF PAYMENT                 AMOUNT PAID             OWING




* Amount subject to adjustment on 4/01/13, and every three years thereafter with respect to cases commenced on or after the date of adjustment.


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               4. Suits and administrative proceedings, executions, garnishments and attachments

    None       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
               this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                                               COURT OR AGENCY                STATUS OR
 AND CASE NUMBER                                NATURE OF PROCEEDING                           AND LOCATION                   DISPOSITION
 Eastern National Bank                          Civil Action Summons                           Circuit Court of the Elenventh Pending
 (Plaintiff) vs. Harvey                                                                        Judicial Circuit in and for
 Hernandez (Defendant)                                                                         Miami-Dade County, Florida
 Case No. 10-24297 CA 03
 Briarrose Invest, LTD                          Law suit                                       Circuit Court of the 11th     Final Default Judgement
 (Plaintiff) v. Bird Road, LLC                                                                 Judicial Circuit in and for   in the amount of $1,619,041.10
 a Florida limited liability                                                                   Miami-Dade County, Florida    and
 company and Harvey                                                                                                          Writ of Garnishment After
 Hernandez, an individual                                                                                                    Judgment
 Case No. 08-46755 CA 27
 BANK LEUMI USA,             Judgment                                                          In the Circuit Court of 11th  active
 a New York banking                                                                            Judicial
 corporation,                                                                                  Circuit In and For Miami-Dade
 Plaintiff                                                                                     County, Florida
 vs.
 BIRD ROAD HOLDINGS, LLC
 a Florida limited liability
 company,
 ALLIED DEMOLITION, INC.
 a Florida corporation,
 HARVEY HERNANDEZ,
 GUILLERMO HANFLING and
 FAUD FARACH,
 Defendants
 Case No.: 08-38483-CA 05
 REGIONS BANK,                                  active                                         In the Circuit Court of the   active
 an Alabama banking                                                                            Eleventh Judicial Circuit,
 corporation                                                                                   In and For Miami-Dade
 Plaintiff,                                                                                    County, Florida
 vs.
 100 DOUGLAS
 APARTMENTS, LLC. a
 Florida limited liability
 company
 HARVEY HERNANDEZ,
 individually,
 DOUGLAS PLACE (MIAMI)
 CONDOMINIUM
 ASSOCIATION, INC., a
 Florida corporation
 not for profit and T.C.T., a
 Florida corporation
 CASE NO.: 08-13135 CA 01

    None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)




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 NAME AND ADDRESS OF PERSON FOR WHOSE                                                                  DESCRIPTION AND VALUE OF
      BENEFIT PROPERTY WAS SEIZED                                             DATE OF SEIZURE                  PROPERTY
 100 Douglas Apartments                                                       February 25, 2009        100 NW 37th Ave.
 100 NW 37th Avenue                                                                                    CU 1 & CU 2
 CU- 1 & CU -2                                                                                         Miami, FL 33125
 Miami, FL 33125                                                                                       $1,425,373.86
 Bank Leumi USA                                                               February 11, 2009        3760 Bird Road
 c/o Shutts & Bowen, LLP                                                                               Miami Florida 33146
 1500 Miami Center                                                                                     $9,750,000.00
 201 S. Biscayne Blvd.
 Miami, FL 33131

               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
               returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                          DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                        FORECLOSURE SALE,            DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                       TRANSFER OR RETURN                    PROPERTY
 BMW Financial Services                                                                                  BMW 550i
 5515 Park Center C                                                                                      Vin # WBANW53548CT52479
 Dublin, OH 43017                                                                                        Repossed
 BMW Financial Services                                                                                  BMW 750Li
 5515 Park Center C                                                                                      Vin WBAHN83586DT38061
 Dublin, OH 43017                                                                                        Vehicle returned
 Audi Financial Services                                                                                 2007 Audi
 P.O. Box 3704                                                                                           Account ending 9222
 Hillsboro, OR 97123-1947                                                                                Vehicle returned

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                      DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                         ASSIGNMENT                         TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                 NAME AND LOCATION
 NAME AND ADDRESS                                                     OF COURT                           DATE OF        DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                  CASE TITLE & NUMBER                     ORDER                PROPERTY

               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
               and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                           RELATIONSHIP TO                                             DESCRIPTION AND
 PERSON OR ORGANIZATION                                           DEBTOR, IF ANY                        DATE OF GIFT          VALUE OF GIFT



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               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
               since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                     DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                               LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                        BY INSURANCE, GIVE PARTICULARS           DATE OF LOSS

               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
               concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                                   DATE OF PAYMENT,                         AMOUNT OF MONEY
 NAME AND ADDRESS                                                               NAME OF PAYOR IF OTHER                  OR DESCRIPTION AND VALUE
    OF PAYEE                                                                          THAN DEBTOR                              OF PROPERTY
 Ryan & Dunn, P.A.                                                              June 2010                              $4,000.00
 POB 561507
 Miami, FL 33256-1507
 InCharge                                                                       June 11, 2010                          $55.00
 2101 Park Center Drive # 310
 Orlando, FL 32835

               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
               transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                        DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                                   DATE                             AND VALUE RECEIVED

    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
               trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                                 AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                       DATE(S) OF                VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                              TRANSFER(S)               IN PROPERTY

               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
               otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                                  TYPE OF ACCOUNT, LAST FOUR
                                                                                  DIGITS OF ACCOUNT NUMBER,            AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                                 AND AMOUNT OF FINAL BALANCE                  OR CLOSING




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               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
               immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                             NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                    OF THOSE WITH ACCESS                        DESCRIPTION            DATE OF TRANSFER OR
   OR OTHER DEPOSITORY                                       TO BOX OR DEPOSITORY                        OF CONTENTS             SURRENDER, IF ANY
 Coconut Grove Bank                                          Harvey Hernandez                            nothing
 2701 Bayshore Drive
 Miami, FL 33133

               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
               commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                                   DATE OF SETOFF                          AMOUNT OF SETOFF

               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.


 NAME AND ADDRESS OF OWNER                                   DESCRIPTION AND VALUE OF PROPERTY                  LOCATION OF PROPERTY

               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
               occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                                        NAME USED                               DATES OF OCCUPANCY

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
               Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

                      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                      owned or operated by the debtor, including, but not limited to, disposal sites.

                      "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                      pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
               or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:


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                                                             NAME AND ADDRESS OF                         DATE OF               ENVIRONMENTAL
 SITE NAME AND ADDRESS                                       GOVERNMENTAL UNIT                           NOTICE                LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
               Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                             NAME AND ADDRESS OF                         DATE OF               ENVIRONMENTAL
 SITE NAME AND ADDRESS                                       GOVERNMENTAL UNIT                           NOTICE                LAW

    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
               the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                              DOCKET NUMBER                             STATUS OR DISPOSITION

               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.

                                    LAST FOUR DIGITS OF
                                    SOCIAL-SECURITY OR
                                    OTHER INDIVIDUAL
                                    TAXPAYER-I.D. NO.                                                                            BEGINNING AND
 NAME                               (ITIN)/ COMPLETE EIN                  ADDRESS                        NATURE OF BUSINESS      ENDING DATES
 Bird Road Holdings,                141945976                             1790 Coral Way Ste 101         Real Estate Holding     10/13/05 - 9/25/09
 LLC                                                                      Miami, FL 33145
 H & H Development                  208863033                             1790 Coral Way, Ste 101        Real Estate Holding     1/11/06 - 9/25/09
 At Bird Road, LLC                                                        Miami, FL 33145
 Grovenor 2202, LLC                 562565940                             1790 Coral Way, Ste 101        Real Estate Holding     1/17/06 - 9/25/09
                                                                          Miami, FL 33145
 H & H Development                  208862996                             1790 Coral Way, Suite 101      Real Estate Holding     6/15/06 - 9/25/09
 At Gallery Art, LLC                                                      Miami, FL 33145
 H & H Development    202725232                                           1790 Coral Way, Ste 101        Real Estate Holding     12/7/04 - 9/25/09
 At Mediterranea, LLC                                                     Miami, FL 33145
 H & H Development                  201774388                             1790 Coral Way, Ste 101        Real Estate Holding     9/27/04 - 9/25/09
 Co. At Solaris, LLC                                                      Miami, FL 33145
 H & H Development                  202938773                             1790 Coral Way, Ste 101        Real Estate Holding     5/13/05 - 9/25/09
 At 430 Hibiscus, LLC                                                     Miami, FL 33145
 H & H Development                  522366214                             1790 Coral Way                 Real Estate Holding     3/11/02 - 9/25/09
 Co                                                                       Miami, FL 33145
 Gallery Art                        205894234                             1790 Coral Way, Ste 101        Real Estate Holding     2/14/07 - 9/25/09
 Investment, LLC                                                          Miami, FL 33145
 500 Dixie Holdings,                208636639                             1790 Coral Way, Ste 101        Real Estate Holding     3/14/07 - 9/25/09
 LLC                                                                      Miami, FL 33145



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                                    LAST FOUR DIGITS OF
                                    SOCIAL-SECURITY OR
                                    OTHER INDIVIDUAL
                                    TAXPAYER-I.D. NO.                                                                              BEGINNING AND
 NAME                               (ITIN)/ COMPLETE EIN                  ADDRESS                        NATURE OF BUSINESS        ENDING DATES
 HHD Group of                       8120                                  4535 Ponce de Leon Blvd        Real Estate Holding       12/05/06 - 9/14/07
 Florida, Inc.                                                            Miami, FL 33146
 HH-430 Hibiscus LLC 202855613                                            1790 Coral Way, Ste 101        Real Estate Holding       5/13/05 - 9/25/09
                                                                          Miami, FL 33145
 HH-430 Hibiscus GP                 202856328                             1790 Coral Way, Ste 101        Real Estate Holding       3/07/05 - 9/25/09
 LLC                                                                      Miami, FL 33145
 Cyber Warehouse,                   650720640                             8216 NW 30 Terrace             Real Estate Holding       1/22/97 - 10/1/04
 Inc.                                                                     Miami, FL 33122
 473 Mendoza, LLC                                                         1790 Coral Way, Ste 101        Real Estate Holding       3/15/01 - 1/09/09
                                                                          Miami, FL 33145
 The 100 Douglas                    591572448                             4536 Ponce De Leon Blvd.       Real Estate Holding       6/10/74 - 10/1/04
 Office Condominium                                                       Coral Gables, FL 33141
 Assoc
 Villa Calabria L.L.C.              562284906                             1790 Coral Way, Ste 101        Real Estate Holding       11/8/01 - 9/25/09
                                                                          Miami, FL 33145
 Gables View                        050527557                             1790 Coral Way, Ste 101        Real Estate Holding       12/19/01 - 9/25/09
 Apartments, L.L.C.                                                       Miami, FL 33145
 Med Investments,                   200710830                             1790 Coral Way, Ste 101        Real Estate Holding       9/24/03 - 9/25/09
 LLC                                                                      Miami, FL 33145
 H & H Le Jeune, LLC                200710769                             1790 Coral Way, Ste 101        Real Estate Holding       10/7/03 - 9/25/09
                                                                          Miami, FL 33145
 Sorrento Real Estate               721574648                             190 Coral Way, Ste 101         Real Estate Holding       11/4/03 - 9/25/09
 Group, LLC                                                               Miami, FL 33145
 Solaris Holdings,                  200787263                             1790 Coral Way, Ste 101        Real Estate Holding       2/16/04 - 9/25/09
 LLC                                                                      Miami, FL 33145
 Teamwork                           202756253                             4535 Ponce de Leon Blvd.       Real Estate Holding       2/20/04 - 4/23/07
 Construction Group,                                                      Miami, FL 33146
 LLC
 FGH Holdings, LLC                  202725163                             1790 Coral Way, Ste 101        Real Estate Holding       3/1/04 - 9/25/09
                                                                          Miami, FL 33145
 Coco Parc                          202010718                             4535 Ponce de Leon Blvd.       Real Estate Holding       8/30/04 - 9/15/06
 Apartments, LLC                                                          Miami, FL 33146
 CPHH Holdings, LLC                 8120                                  4535 Ponce de Leon Blvd.       Real Estate Holding       11/05/04 - 4/29/05
                                                                          Miami, FL 33145
 Central Parc                       8120                                  4535 Ponce de Leon Blvd.       Real Estate Holding       2/01/05 - 9/15/06
 Holdings, LLC                                                            Miami, FL 33146
 Jade 903, LLC                      562565940                             4535 Ponce de Leon Blvd.       Real Estate Holding       10/05/05 - 4/23/07
                                                                          Miami, FL 33146
 Bird Road LLC                      030472485                             1790 Coral Way, Ste 101        Real Estate Holding       10-13-05 - 9/25/09
                                                                          Miami, FL 33145

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                         ADDRESS
 Bird Road Holdings, LLC                                                      1790 Coral Way Ste 101
                                                                              Miami, FL 33145
 H & H Development At Bird Road, LLC                                          1790 Coral Way, Ste 101
                                                                              Miami, FL 33145

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                                                                                                                                                  9

 NAME                                                                         ADDRESS
 Grovenor 2202, LLC                                                           1790 Coral Way, Ste 101
                                                                              Miami, FL 33145
 H & H Development At Gallery Art, LLC                                        1790 Coral Way, Suite 101
                                                                              Miami, FL 33145
 H & H Development At Mediterranea, LLC                                       1790 Coral Way, Ste 101
                                                                              Miami, FL 33145
 H & H Development Co. At Solaris, LLC                                        1790 Coral Way, Ste 101
                                                                              Miami, FL 33145
 H & H Development At 430 Hibiscus, LLC                                       1790 Coral Way, Ste 101
                                                                              Miami, FL 33145
 H & H Development Co                                                         1790 Coral Way
                                                                              Miami, FL 33145
 Gallery Art Investment, LLC                                                  1790 Coral Way, Ste 101
                                                                              Miami, FL 33145
 500 Dixie Holdings, LLC                                                      1790 Coral Way, Ste 101
                                                                              Miami, FL 33145
 HHD Group of Florida, Inc.                                                   4535 Ponce de Leon Blvd
                                                                              Miami, FL 33146
 HH-430 Hibiscus LLC                                                          1790 Coral Way, Ste 101
                                                                              Miami, FL 33145
 HH-430 Hibiscus GP LLC                                                       1790 Coral Way, Ste 101
                                                                              Miami, FL 33145
 Cyber Warehouse, Inc.                                                        8216 NW 30 Terrace
                                                                              Miami, FL 33122
 473 Mendoza, LLC                                                             1790 Coral Way, Ste 101
                                                                              Miami, FL 33145
 The 100 Douglas Office Condominium Assoc                                     4536 Ponce De Leon Blvd.
                                                                              Coral Gables, FL 33141
 Villa Calabria L.L.C.                                                        1790 Coral Way, Ste 101
                                                                              Miami, FL 33145
 Gables View Apartments, L.L.C.                                               1790 Coral Way, Ste 101
                                                                              Miami, FL 33145
 Med Investments, LLC                                                         1790 Coral Way, Ste 101
                                                                              Miami, FL 33145
 H & H Le Jeune, LLC                                                          1790 Coral Way, Ste 101
                                                                              Miami, FL 33145
 Sorrento Real Estate Group, LLC                                              190 Coral Way, Ste 101
                                                                              Miami, FL 33145
 Solaris Holdings, LLC                                                        1790 Coral Way, Ste 101
                                                                              Miami, FL 33145
 Teamwork Construction Group, LLC                                             4535 Ponce de Leon Blvd.
                                                                              Miami, FL 33146
 FGH Holdings, LLC                                                            1790 Coral Way, Ste 101
                                                                              Miami, FL 33145
 Coco Parc Apartments, LLC                                                    4535 Ponce de Leon Blvd.
                                                                              Miami, FL 33146
 CPHH Holdings, LLC                                                           4535 Ponce de Leon Blvd.
                                                                              Miami, FL 33145
 Central Parc Holdings, LLC                                                   4535 Ponce de Leon Blvd.
                                                                              Miami, FL 33146



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                                                                                                                                                               10

 NAME                                                                         ADDRESS
 Jade 903, LLC                                                                4535 Ponce de Leon Blvd.
                                                                              Miami, FL 33146
 Bird Road LLC                                                                1790 Coral Way, Ste 101
                                                                              Miami, FL 33145



    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

               19. Books, records and financial statements

    None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
               supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                               DATES SERVICES RENDERED

    None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
               of account and records, or prepared a financial statement of the debtor.

 NAME                                                 ADDRESS                                                   DATES SERVICES RENDERED

    None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
               of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                              ADDRESS

    None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
               issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                       DATE ISSUED

               20. Inventories

    None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
               and the dollar amount and basis of each inventory.

                                                                                                                DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                    INVENTORY SUPERVISOR                                      (Specify cost, market or other basis)

    None       b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                                           NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                                         RECORDS

               21 . Current Partners, Officers, Directors and Shareholders

    None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


 NAME AND ADDRESS                                                             NATURE OF INTEREST                          PERCENTAGE OF INTEREST




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                                                                                                                                                                    11
    None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
               controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                                      NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                             TITLE                                   OF STOCK OWNERSHIP

               22 . Former partners, officers, directors and shareholders

    None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
               commencement of this case.

 NAME                                                            ADDRESS                                                    DATE OF WITHDRAWAL

    None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
               immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                             TITLE                                   DATE OF TERMINATION

               23 . Withdrawals from a partnership or distributions by a corporation

    None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
               in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                              AMOUNT OF MONEY
 OF RECIPIENT,                                                                DATE AND PURPOSE                               OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                       OF WITHDRAWAL                                  VALUE OF PROPERTY

               24. Tax Consolidation Group.

    None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
               group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
               of the case.

 NAME OF PARENT CORPORATION                                                                                    TAXPAYER IDENTIFICATION NUMBER (EIN)

               25. Pension Funds.

    None       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an
               employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                          TAXPAYER IDENTIFICATION NUMBER (EIN)


                                 DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date June 16, 2010                                                           Signature        /s/ Harvey Hernandez
                                                                                               Harvey Hernandez
                                                                                               Debtor

                   Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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B8 (Form 8) (12/08)
                                                                 United States Bankruptcy Court
                                                                          Southern District of Florida
 In re       Harvey Hernandez                                                                                         Case No.
                                                                                             Debtor(s)                Chapter     7


                                  CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by
     property of the estate. Attach additional pages if necessary.)

 Property No. 1

 Creditor's Name:                                                                             Describe Property Securing Debt:
 -NONE-

 Property will be (check one):
        Surrendered                                                            Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                                        Not claimed as exempt

PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)

 Property No. 1

 Lessor's Name:                                                  Describe Leased Property:                          Lease will be Assumed pursuant to 11
 -NONE-                                                                                                             U.S.C. § 365(p)(2):
                                                                                                                       YES              NO


I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
personal property subject to an unexpired lease.


 Date June 16, 2010                                                           Signature      /s/ Harvey Hernandez
                                                                                             Harvey Hernandez
                                                                                             Debtor




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B 201A (Form 201A) (12/09)

WARNING: Effective December 1, 2009, the 15-day deadline to file schedules and certain other documents under Bankruptcy
             Rule 1007(c) is shortened to 14 days. For further information, see note at bottom of page 2
                                                       UNITED STATES BANKRUPTCY COURT
                                                        SOUTHERN DISTRICT OF FLORIDA
                                           NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                                    OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

            Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total Fee $299)
         Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion requesting that the court
dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
         Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
         The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
         Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property settlement
obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and
malicious injury, the bankruptcy court may determine that the debt is not discharged.

            Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
            $39 administrative fee: Total fee $274)


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Form B 201A, Notice to Consumer Debtor(s)                                                                                               Page 2

         Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over
a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
         Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using
your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
         After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in your
bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

            Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

            Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court. The
documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.

Many filing deadlines change on December 1, 2009. Of special note, 12 rules that set 15 days to act are amended to require
action within 14 days, including Rule 1007(c), filing the initial case papers; Rule 3015(b), filing a chapter 13 plan; Rule
8009(a), filing appellate briefs; and Rules 1019, 1020, 2015, 2015.1, 2016, 4001, 4002, 6004, and 6007.




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B 201B (Form 201B) (12/09)
                                                                 United States Bankruptcy Court
                                                                          Southern District of Florida
 In re       Harvey Hernandez                                                                                           Case No.
                                                                                             Debtor(s)                  Chapter        7


                                     CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                         UNDER § 342(b) OF THE BANKRUPTCY CODE
                                                                             Certification of Debtor
            I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code.
 Harvey Hernandez                                                                             X /s/ Harvey Hernandez                       June 16, 2010
 Printed Name(s) of Debtor(s)                                                                   Signature of Debtor                        Date

 Case No. (if known)                                                                          X
                                                                                                  Signature of Joint Debtor (if any)       Date




Instructions: Attach a copy of Form B 201 A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has NOT been made on the
Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's attorney that the attorney has given the
notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on page 3 of Form B1 also include this certification.
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                                                                 United States Bankruptcy Court
                                                                         Southern District of Florida
 In re       Harvey Hernandez                                                                                 Case No.
                                                                                         Debtor(s)            Chapter    7




                                                VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date:      June 16, 2010                                                     /s/ Harvey Hernandez
                                                                              Harvey Hernandez
                                                                              Signature of Debtor




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            Alkairina Corp.
            117 NW 42 Ave
            Ste 914
            Miami, FL 33125


            American Express
            P.O. Box 530001
            Atlanta, GA 30353


            Applerouth, Farah & Co.
            999 Ponce De Leon Blvd
            Ste 625
            Miami, FL 33134


            Asset Acceptance
            P.O. Box 2036
            Warren, MI 48090


            AT&T
            POB 105503
            Atlanta, GA 30348-5503


            AUDI FINANCIAL SERVICES
            P.O. BOX 17497
            Baltimore, MD 21297-1497


            Bank Leumi USA
            c/o Shutts & Bowen LLP
            1500 Miami Center
            201 S. Biscayne Blvd.
            Miami, FL 33131


            Bank of America
            P.O. Box 15026
            Wilmington, DE 19850-5026


            BMW Financial Services
            P.O Box 9001065
            Louisville, KY 40290-1065


            Briarrose Invest, LTD
            c/o Juan C. Martinez, Esq
            1221 Brickell Ave
            Ste 1650
            Miami, FL 33131
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        Carlos Marquez
        7102 SW 44 ST
        Miami, FL 33165


        Citi Card
        POB 6401
        The Lakes, NV 88901-6401


        CollectCorp
        455 North 3rd Street, Suite 260
        Phoenix, AZ 85004-3924


        Eastern National Bank
        799 Brickell Plaza
        Miami, FL 33131


        Equifax
        POB 740241
        Atlanta, GA 30374


        Experian
        POB 2104
        Allen, TX 75013


        FIA Card Services
        POB 15019
        Wilmington, DE 19886-5726


        First Revenue Assurance
        POB 3020
        Albuquerque, NM 87190-3020


        Florida Dept. of Revenue
        P.O. Box 6668
        Bankruptcy Division
        Tallahassee, FL 32314-6668


        Gregory J. Barro, PLC
        400 Travis Street
        Ste 1004
        Shreveport, LA 71101


        Innovis
        P.O. Box 1358
        Columbus, OH 43216-1358
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        Internal Revenue Service
        Special Procedures-Insolvency
        7850 SW 6th Court
        Stop 5730
        Plantation, FL 33324


        IRS
        Special Procedures-Insolvency
        Stop 5760
        Po Box 17167
        Fort Lauderdale, FL 33318


        James W. Carpenter
        c/o Angelo & Banta, P.A.
        515 East Las Olas Blvd.
        Suite 850
        Fort Lauderdale, FL 33301


        Law Offices of Harold E. Scherr, PA
        1064 Greenwood Bld
        Ste 328
        Lake Mary, FL 32746


        Lot 20, Rivera, LLC.
        c/o Frank Medina, Landlord
        Miami, FL 33146


        MBNA
        P.O. Box 15137
        Wilmington, DE 19850


        Nationwide Credit, Inc.
        2015 Vaugh Rd NW
        Suite 400
        Kennesaw, GA 30144-7802


        NCO Financial Systems, Inc.
        1804 Washington Blvd.
        Baltimore, MD 21230


        Northland Group, Inc.
        PO Box 390905
        Edina, MN 55439
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        Pay Pal Plus
        GE Money Bank
        Bankruptcy Dept
        POB 103104
        Roswell, GA 30076


        Regions Bank
        c/o Angelo & Banta, P.A.
        515 East Las Olas Blvd.
        Suite 850
        Fort Lauderdale, FL 33301


        Shutts & Bowen
        201 South Biscayne Blvd.
        Suite 1500
        Miami, FL 33131


        The Law Firm of Augustin Perez-Cervera
        815 Ponce De Leon Blvd
        Ste 301
        Miami, FL 33134


        Trans Union Corp.
        P.O. Box 1000
        Chester, PA 19022


        United Collection Bureau, Inc.
        5620 Southwyck Blvd
        Suite 206
        Toledo, OH 43614


        Vantage Sourcing
        POB 6786
        Dothan, AL 36302


        Verizon Wireless
        PO Box 105378
        Atlanta, GA 30348


        Vital Recovery Services, Inc.
        P.O. Box 923747
        Norcross, GA 30010-3747
